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                                           Case: 19-30088   Doc# 2014-2   Filed: 05/15/19   Entered: 05/15/19 15:35:14   Page 1
                                                                                   of 3
Case: 19-30088   Doc# 2014-2   Filed: 05/15/19   Entered: 05/15/19 15:35:14   Page 2
                                        of 3
Case: 19-30088   Doc# 2014-2   Filed: 05/15/19   Entered: 05/15/19 15:35:14   Page 3
                                        of 3
